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                                 Minutes of Proceedings
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
Date: May 19, 2020
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In re:                                                              Chapter 7
         Aida Luz Santaigo,
                                                                    Case No. 19-12358-jlg
Debtor.
----------------------------------------------------------------x
Victor Santaigo and Sandra Almodovar Santaigo,
         Plaintiffs,                                                Adv. Pro. No. 19-01361-jlg
v.
Alan Nisselson, as the Chapter 7 Trustee of the Estate
of Aida Luz Santaigo,
         Defendant.
----------------------------------------------------------------x
Present:                  Hon. James L. Garrity, Jr., United States Bankruptcy Judge
Appearances:              Carlos J. Cuevas, Esq., Counsel to the Plaintiffs
                          Victor Santaigo, Plaintiff
                          Sandra Almodovar Santaigo, Plaintiff
                          Leslie S. Barr, Esq., Counsel to Alan Nisselson, as the Chapter 7 Trustee
                          of the Estate of Aida Luz Santaigo
Proceedings:              Motion to Withdraw as Attorney
                          Pretrial Conference
Order:                    Motion to Withdraw as Attorney is granted. Debtor’s counsel is
                          authorized to settle an order on ten days’ notice.
                          The Pretrial Status conference is hereby adjourned to June 18, 2020 at
                          10:00 a.m. (ET).
                          On or before June 11, 2020 at 4:00 p.m. (ET), the parties shall file a joint
                          or separate status letters with the Court (and mail two single-sided copies
                          to Chambers).
BY THE COURT:
         May 27, 2020
         New York, New York
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                                     /s/ James L. Garrity, Jr.
                                     Honorable James L. Garrity, Jr.
                                     United States Bankruptcy Judge
